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1     HEATHER E. WILLIAMS, #122664
      Federal Defender
2     PEGGY SASSO, Bar #228906
      JANET BATEMAN, Bar #241210
3     Assistant Federal Defenders
      Designated Counsel for Service
4     2300 Tulare Street, Suite 330
      Fresno, California 93721-2226
5     Telephone: (559) 487-5561
6     Attorney for Defendant
      SDEY CHIM
7
8
                               IN THE UNITED STATES DISTRICT COURT
9
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
       UNITED STATES OF AMERICA,                )   Case No. 1:13-cr-0136 AWI
12                                              )
                          Plaintiff,            )   STIPULATION ADVANCING HEARING;
13                                              )   ORDER THEREON
       vs.                                      )
14                                              )
       SDEY CHIM,                               )
15                                              )
                          Defendant.            )   DATE: February 10, 2014
16                                              )   TIME: 10:00 a.m.
                                                )   JUDGE: Anthony W. Ishii
17
             IT IS HEREBY STIPULATED by and between the parties hereto through their
18
      respective counsel, United States Attorney Grant Rabenn, Counsel for Plaintiff, and Assistant
19
      Federal Defenders Peggy Sasso and Janet Bateman, Counsel for Defendant Sdey Chim, that the
20
      hearing currently set for February 24, 2014 at 1:00 p.m. before the Honorable Magistrate Judge
21
      Barbara A. McAuliffe, may be advanced and rescheduled to February 10, 2014 at at 10:00
22
      a.m. for a change of plea hearing before the Honorable Anthony W. Ishii.
23
             The parties have reached an agreement regarding the resolution in this case.
24
      ///
25
26    ///

27    ///
28    ///
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1                                               Respectfully submitted,
2
                                                BENJAMIN B. WAGNER
3                                               United States Attorney
4
      DATED: January 31, 2014           By:     /s/ Grant B. Rabenn
5                                               GRANT B. RABENN
                                                Assistant United States Attorney
6                                               Attorney for Plaintiff
7
                                                HEATHER E. WILLIAMS
8                                               Federal Defender
9
      DATED: January 31, 2014            By:    /s/ Peggy Sasso
10                                              PEGGY SASSO
                                                JANET BATEMAN
11                                              Assistant Federal Defenders
                                                Attorneys for Defendant
12                                              SDEY CHIM
13
14
15
16                                     ORDER
17    IT IS SO ORDERED.
18
      Dated:   January 31, 2014
19                                     SENIOR DISTRICT JUDGE

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